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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION



    SIGIFREDO OLIVEROS-ESTUPINAN,

           Petitioner,

    -vs-                                                      Case No. 8:02-Cr-228-T-30EAJ
                                                                       8:05-CV-1101-30EAJ
    UNITED STATES OF AMERICA,

         Respondent.
    _____________________________/

                                            ORDER

           BEFORE the Court is Petitioner's Motion to Supplement the Proceedings (CV Dkt.

    7) and Respondent’s Response in Opposition thereto (CV Dkt. 10). Petitioner seeks leave

    to supplement the record with (1) a photograph depicting four men standing over the body

    of a shark (CV Dkt. 7, Ex. A) and (2) a certificate Petitioner asserts establishes that the

    vessel carrying 4,665 kilograms of cocaine when intercepted by the United States Coast

    Guard was certified as a fishing vessel by an official of the Columbian government (CV Dkt.

    7, Ex. B). Petitioner contends that these documents should be considered in support of his

    claim that trial counsel was ineffective for failing to present evidence of his innocence at

    trial because they “establish a reasonable doubt as to [his] guilt of the charges” (Dkt. 7 ¶

    5).

           Respondent opposes Petitioner’s motion on grounds that the documents are not (1)

    pertinent to the issues raised in Petitioner’s § 2255 motion or (2) verified as to origin or

    authenticity (Dkt. 10 at 2).

           The decision whether to grant a request for leave to supplement the record is

    committed to the sound discretion of the Court. See Fed. R. Civ. P. 15(d) advisory
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    committee note ("As in other situations where a supplemental pleading is offered, the court

    is to determine in the light of the particular circumstances whether filing should be

    permitted, and if so, upon what terms."). "[T]he district court may consider such factors as

    'undue delay, bad faith or dilatory motive on the part of the movant, repeated failure to cure

    deficiencies by amendments [or supplements] previously allowed, undue prejudice to the

    opposing party by virtue of allowance of the amendment [or supplement, and] futility of the

    amendment [or supplement].' " Nat'l Serv. Indus., Inc. v. Vafla Corp., 694 F.2d 246, 249

    (11th Cir. 1982) (quoting Foman v. Davis, 371 U.S. 178, 182 (1962)). See also Bryant v.

    Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001); Brewer-Giorgio v. Producers Video, Inc.,

    216 F.3d 1281, 1284 (11th Cir. 2000) (motion may be denied if amendment is futile).

             Having reviewed Petitioner’s motion for leave to supplement the record, the

    proposed supplements, and the claims raised by Petitioner in his § 2255 motion, the Court

    finds that even if the documents were properly verified and authenticated, they are not

    relevant to Petitioner’s claim that trial counsel was ineffective for failing to present a

    defense of actual innocence. Thus, granting Petitioner’s motion to supplement the record

    would be an exercise in futility.

             ACCORDINGLY, the Court ORDERS that Petitioner's Motion to Supplement the

    Proceedings (CV Dkt. 7) is DENIED.

             DONE and ORDERED in Tampa, Florida on November 14, 2005.




    Copy furnished to:
    All Parties of Record

    SA:jsh


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